                                                              Case 2:14-cv-05724-BRO-VBK Document 1 Filed 07/23/14 Page 1 of 9 Page ID #:1



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                                                                   One Technologies, L.P.
                                                              9
                                                              10                            UNITED STATES DISTRICT COURT
                                                              11                        CENTRAL DISTRICT OF CALIFORNIA
                                                              12                                 WESTERN DIVISION
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                                                              13
                        LOS ANGELES, CALIFORNIA 90024




                                                                   WILLIAM SILVERSTEIN,
                                                              14                                          Case No.: 2:14-cv-05724
                                                                               Plaintiff,
                                                              15                                          NOTICE OF REMOVAL AND
                                                                         v.                               REMOVAL OF ACTION TO
                                                              16                                          FEDERAL COURT;
                                                                   ONE TECHNOLOGIES, L.P.,
                                                              17   MICHAEL PERSAUD, and DOES 1-           DEMAND FOR JURY
                                                                   50 inclusive,
                                                              18                                          [Diversity Jurisdiction, 28 U.S.C. §§
                                                                                 Defendants.
                                                              19                                          1332, 1441, 1446]

                                                              20                                          [Filed concurrently herewith:
                                                                                                          Declaration of Heather George;
                                                              21                                          Declaration of Joshua P. Gelbart; Fed.
                                                                                                          R. Civ. P. 7.1 Disclosure Statement;
                                                              22                                          Local Rule 7.1-1 Notice of Interested
                                                                                                          Parties]
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                                                                                                                     NOTICE OF REMOVAL AND REMOVAL
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                                                                  1    TO THE CLERK OF THE ABOVE-ENTITLED COURT, ALL PARTIES, AND
                                                                  2    THEIR ATTORNEYS OF RECORD:
                                                                  3          PLEASE TAKE NOTICE that Defendant One Technologies, L.P. hereby
                                                                  4    removes this action to the United States District Court for the Central District of
                                                                  5    California, and in support thereof, respectfully shows the Court as follows:
                                                                  6                     BACKGROUND AND STATEMENT OF THE CASE
                                                                  7          1.     On or about January 15, 2014, an action styled Silverstein v. One
                                                                  8    Technologies, L.P. et al., Case No. BC533141 (the “Action”), was commenced in the
                                                                  9    Superior Court of California for the County of Los Angeles. The Action was
                                                                  10   assigned to the Honorable Richard Fruin.
                                                                  11         2.     The complaint in the Action alleges that plaintiff William Silverstein is
                                                                  12   “an individual operating as a sole proprietor under the laws of the State of California
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                                                                  13   and qualified and doing business under his own name with a principal place of
                                                                  14   business in Los Angeles, California.” (See Compl. ¶ 3.)
                                                                  15         3.     The complaint alleges that One Technologies and Michael Persaud sent
                                                                  16   “spam” emails adverting Defendants’ websites and products purportedly in violation
                                                                  17   of Business and Professions Code § 17529.5. (Compl. ¶¶ 1, 25-37.)
                                                                  18         4.     The Action is brought against two purported defendants: One
                                                                  19   Technologies and someone named Michael Persaud. Plaintiff also sued fictitious
                                                                  20   parties, Does 1-50.
                                                                  21         5.     One Technologies is a technology firm that focuses on consumer credit
                                                                  22   information. It is a Delaware Corporation with its principal place of business in
                                                                  23   Dallas, Texas. (See Declaration of Heather George (“George Decl.”) ¶ 2.) As such,
                                                                  24   it is a citizen of Delaware and Texas.
                                                                  25         6.     None of One Technologies’ partners are citizens of the State of
                                                                  26   California. (See id.)
                                                                  27         7.     The complaint alleges that defendant Michael Persaud is an individual
                                                                  28   residing in San Diego, California. (See Compl. ¶ 8.) Contrary to the allegations of
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                                                                                                                              NOTICE OF REMOVAL AND REMOVAL
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                                                                  1    the complaint, no one by the name of Michael Persaud (or with the surname Persaud)
                                                                  2    has ever been employed by One Technologies to perform any service for or on behalf
                                                                  3    of One Technologies in any capacity. (George Decl. ¶ 4.) Specifically, no one
                                                                  4    named Michael Persaud (or with the surname Persaud) has ever been employed to
                                                                  5    “transmit some [or all of] the e-mails advertising [One Technologies] web sites,” as
                                                                  6    alleged erroneously in the complaint. (Id.)
                                                                  7          8.     One Technologies generally and specifically denies the allegations of
                                                                  8    wrongdoing in the complaint.
                                                                  9                THE REQUIREMENTS FOR REMOVAL ARE SATISFIED
                                                                  10         9.     This Action is appropriately removed to federal court pursuant to 28
                                                                  11   U.S.C. § 1332. One Technologies has satisfied all of the procedural requirements of
                                                                  12   28 U.S.C. § 1446 and thereby removes this Action to the United States District Court
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                                                                  13   for the Central District of California pursuant to 28 U.S.C. § 1441.
                                                                  14    The Diversity of Citizenship Requirement Is Satisfied Because The Allegations
                                                                  15         Regarding “Michael Persaud” Are Ignored for Purposes of Removal
                                                                  16         10.    Although “[s]ection 1332 requires complete diversity of citizenship…,
                                                                  17   one exception to the requirement of complete diversity is where a non-diverse
                                                                  18   defendant has been “fraudulently joined.’” Morris v. Princess Cruises, Inc., 236 F.3d
                                                                  19   1061, 1067 (9th Cir. 2001) (internal citations omitted). In such a case, “the
                                                                  20   ‘fraudulently-joined’ defendant is disregarded for diversity jurisdiction purposes and
                                                                  21   such a defendant is dismissed.” Bellecci v. GTE Sprint Commc’ns Corp., Case No.
                                                                  22   C02-03974-WHA, 2003 WL 151538, at *3 (N.D. Cal. Jan. 14, 2003).
                                                                  23         11.    “Fraudulent joinder” is a term of art that “does not require a finding of
                                                                  24   fraudulent intent” by the plaintiff. Davis v. Prentiss Properties Ltd., Inc., 66 F. Supp.
                                                                  25   2d 1112, 1114 (C.D. Cal. 1999) (internal citations omitted). As such, “[a] defendant
                                                                  26   may remove a civil action that alleges claims against a non-diverse defendant when
                                                                  27   the plaintiff has no basis for suing that defendant.” Bellecci, 2003 WL 151538, at *3
                                                                  28   (citing McCabe v. General Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987)). “In
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                                                                                                                               NOTICE OF REMOVAL AND REMOVAL
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                                                                  1    determining whether a non-diverse defendant has been improperly joined, federal
                                                                  2    courts in the Ninth Circuit may look beyond the pleadings and examine the factual
                                                                  3    record.” Id. at *4. The Court may consider summary judgment-type evidence such
                                                                  4    as affidavits and deposition testimony. See Morris, 236 F.3d at 1068.
                                                                  5          12.    In this case, “fraudulent joinder” is established because Mr. Silverstein
                                                                  6    has no basis for alleging that a person named Michael Persaud was hired and
                                                                  7    authorized by One Technologies to take any action on behalf of One Technologies,
                                                                  8    let alone take the actions ascribed to Persaud in the complaint. No one named
                                                                  9    Michael Persaud (or with the surname Persuad) has ever been employed by One
                                                                  10   Technologies to do anything on its behalf or for its benefit. (See George Decl. ¶ 4.)
                                                                  11   One Technologies has no employment records of anyone named Michael Persaud or
                                                                  12   with the surname Persaud. (See id.)1
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                                                                              Where the plaintiff “has misstated or omitted discrete facts that would
                                                                  16   determine the propriety of joinder,” the district court may conduct a “summary
                                                                  17   inquiry” into “discrete and undisputed facts that would preclude plaintiff’s recovery
                                                                       against the in-state defendant.” Smallwood v. Ill. Central R.R. Co., 385 F.3d 568,
                                                                  18   573 (5th Cir. 2004). “In this inquiry the motive or purpose of the joinder of in-state
                                                                  19   defendants is not relevant.” Id. at 574. And a “mere possibility of recover under
                                                                       local law [against the in-state defendant] will not preclude a finding of improper
                                                                  20   joinder.” Id. at 573 n.9 (citing Badon V. RJR Nabisco, Inc., 236 F.3d 282, 286 n.4
                                                                  21   (5th Cir. 2000)).
                                                                              In explaining the rationale for allowing a district court to “pierce the pleadings”
                                                                  22   when determining a motion to remand, the Fifth Circuit gave examples that are
                                                                  23   analytically identical to the situation here. Specifically, the Fifth Circuit said that
                                                                       piercing the pleadings was appropriate where, for example, the facts showed that “the
                                                                  24   in-state doctor defendant did not treat the plaintiff patient, the in-state pharmacist
                                                                  25   defendant did not fill a prescription for the plaintiff patient, a party’s residence was
                                                                       not as alleged, or any other fact that easily can be disproved if not true.” Id. at 573
                                                                  26   n.12 (citing Travis v. Irby, 326 F.3d 644, 648, 49 (5th Cir. 2003)); see also Garcia v.
                                                                  27   LG Electronics USA Inc., 2011 WL 2517141, at *4 (S.D. Tex. 2011) (“a simple
                                                                       affidavit by the innocent retailer could show that the innocent retailer, in fact, did not
                                                                  28   manufacture or design the product at issue” and therefore not liable under Texas law).
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                                                                  1          13.    This is not the first time that Mr. Silverstein has named “Michael
                                                                  2    Persaud” as a defendant in a lawsuit filed by Silverstein, apparently in an attempt to
                                                                  3    avoid federal diversity jurisdiction. Silverstein has recently filed several similar
                                                                  4    lawsuits in which the complaints contain identical or nearly identical allegations
                                                                  5    regarding “Michael Persaud” as are made in the complaint in this Action. In those
                                                                  6    cases, Silverstein alleges that “Michael Persaud” works or worked for the diverse
                                                                  7    defendants named in those cases. See, e.g., Silverstein v. Bio Trust Nutrition, LLC,
                                                                  8    et al., Case No. BC517126 (Declaration of Joshua P. Gelbart (“Gelbart Decl.”), Ex.
                                                                  9    B) (L.A. Super. Ct. Aug. 5, 2013); Silverstein v. Acquisition Media, LLC, et al., Case
                                                                  10   No. BC533137 (Gelbart Decl., Ex. C) (L.A. Super. Ct. Jan. 15, 2014); Silverstein v.
                                                                  11   Instant Checkmate, Inc., et al., Case No. BC33138 (Gelbart Decl., Ex. D) (L.A.
                                                                  12   Super. Ct. Jan. 15, 2014). Specifically:
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                                                                  13         a.     On or about August 5, 2013, Mr. Silverstein brought suit in the Superior
                                                                  14                Court of California for the County of Los Angeles and swore under
                                                                  15                penalty of perjury in his verified complaint that Michael Persaud had
                                                                  16                worked for “BioTrust, DermStore, Intelligent Beauty, Inc. and Joel
                                                                  17                Marrion.” See Bio Trust Compl. (Gelbart Decl., Ex. B) ¶ 16.
                                                                  18         b.     On January 15, 2014—the same day Mr. Silverstein filed this Action—
                                                                  19                Mr. Silverstein filed two other actions in the Superior Court of California
                                                                  20                for the County of Los Angeles also alleging violations of Business and
                                                                  21                Professions Code § 17259.5. In the Acquisition Media action, Mr.
                                                                  22                Silverstein alleged that “Defendants Acquisition Media and Blue Global
                                                                  23                LLC had hired, in some manner, Michael Persaud to transmit some of
                                                                  24                the emails advertising their website.” Acquisition Media Compl.
                                                                  25                (Gelbart Decl. Ex. C) ¶ 13. In the Instant Checkmate action, Mr.
                                                                  26                Silverstein alleged that Instant Checkmate, Inc. “hired Persaud to send
                                                                  27                all of the complained emails for them.” Instant Checkmate Compl.
                                                                  28                (Gelbart Decl., Ex. D) ¶ 2.
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                                                                  1          14.     Despite alleging in other cases that Michael Persaud is employed by
                                                                  2    seven other entities and people during the past year, in this Action Mr. Silverstein
                                                                  3    alleges that Michael Persaud works for an entirely new company, One Technologies.
                                                                  4    (Compl. ¶¶ 12, 28.)
                                                                  5          15.     As proven by the George Declaration, no one named Michael Persaud
                                                                  6    (or with the Persaud surname) has ever been employed by One Technologies to
                                                                  7    perform any service for One Technologies in any capacity. (George Decl. ¶ 4.)
                                                                  8          16.     For all the foregoing reasons, the allegations regarding Michael Persaud
                                                                  9    must be disregarded for determining diversity citizenship. See Bellecci, 2003 WL
                                                                  10   151538, at *3.
                                                                  11    The Diversity of Citizenship Requirement Is Satisfied Because The Allegations
                                                                  12          Regarding “Doe” Defendants Are Ignored for Purposes of Removal
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                                                                  13         17.     The citizenship of parties sued under fictitious names, e.g. Does 1-50, is
                                                                  14   disregarded for purposes of removal on the basis of diversity jurisdiction. 28 U.S.C.
                                                                  15   § 1441(a); Strotek Corp. v. Air Transp. Ass’n. of Am., 300 F. 3d 1129, 1132 (9th Cir.
                                                                  16   2002) (“Nor may the presence of a sham or nominal party defeat removal on diversity
                                                                  17   grounds.”).
                                                                  18         18.     The only defendant that should be considered by the Court when
                                                                  19   determining diversity jurisdiction is One Technologies. Between Mr. Silverstein and
                                                                  20   One Technologies it is indisputable that complete diversity exists. See 28 U.S.C. §
                                                                  21   1332(a)(1) and (c)(1); see also Compl. ¶¶ 3, 7.
                                                                  22                    The Amount in Controversy Requirement Is Satisfied
                                                                  23         19.     Based on the allegations and relief requested in the complaint, the
                                                                  24   amount in controversy exceeds the sum or value of $75,000, exclusive of interest and
                                                                  25   costs, satisfying the amount in controversy requirement of 28 U.S.C. § 1332(b).
                                                                  26         20.     Specifically, plaintiff seeks $1,000 from One Technologies for each
                                                                  27   “spam” email he purportedly received. (See Compl. (Prayer for Relief).) The
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                                                                                                                               NOTICE OF REMOVAL AND REMOVAL
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                                                                  1    complaint alleges that he received more than 380 such emails, which according to the
                                                                  2    theory of relief alleged, totals $380,000 in damages sought. (See id. ¶ 25.2)
                                                                  3                                      Removal Is Timely
                                                                  4          21.    This removal is timely filed. See 28 U.S.C. § 1446(b)(3). The
                                                                  5    complaint purports to have been mailed to One Technologies’ out of state agent for
                                                                  6    service of process located in Austin, Texas by certified mail on or about June 14,
                                                                  7    2014. The deadline to file a removal petition has not yet passed. See Code Civ. Proc.
                                                                  8    § 415.40; 28 U.S.C. 1446(b)(1). This removal is filed less than one year after
                                                                  9    commencement of the Action. See 28 U.S.C. § 1446(c)(1).
                                                                  10               The Other Procedural Requisites for Removal Are Satisfied
                                                                  11         22.    One Technologies has complied with and will comply with 28 U.S.C. §§
                                                                  12   1446(a) and (d). This notice of removal is accompanied by a true and correct copy of
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                                                                  13   all pleadings, orders, and other papers on file in state court or served on the parties at
                                                                  14   the time of removal. These documents are attached hereto as Exhibit A.
                                                                  15         23.    Pursuant to 28 U.S.C. § 1446(d), a notice of filing of removal, along
                                                                  16   with a copy of this notice of removal attached thereto, will be filed promptly with the
                                                                  17   Clerk of Court in the Superior Court of California for the County of Los Angeles,
                                                                  18   Case No. BC533141, with a copy served on plaintiff Silverstein and defendant
                                                                  19   Michael Persaud, should he somehow appear prior to removal of this Action. One
                                                                  20   Technologies also shall file with this Court a certificate of service of such notice.
                                                                  21         24.    Venue is proper in this Court because the Action is being removed from
                                                                  22   the Superior Court of California for the County of Los Angeles, which lies within the
                                                                  23   United States District Court for the Central District of California, Western Division.
                                                                  24   See 28 U.S.C. §§ 1441(a) and 1446(a).
                                                                  25
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                                                                         One Technologies denies these allegations. However, for purposes of removal, the
                                                                  26   plaintiff is held to the allegations of his complaint when determining the “amount in
                                                                       controversy.” Korn v. Polo Ralph Lauren Corp., 536 F. Supp. 2d 1199, 1206 (E.D.
                                                                  27   Cal. 2008) (internal citations omitted) (“The ultimate inquiry is what amount is put
                                                                       ‘in controversy’ by the plaintiff’s complaint, not what a defendant will actually
                                                                  28   owe.”) (Emphasis in original).
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                                                                  1          25.    Pursuant to Local Rule 3-1, a completed Civil Cover Sheet is filed
                                                                  2    concurrently herewith.
                                                                  3          26.    Pursuant to Fed. R. Civ. P. 7.1, two copies of the Corporate Disclosure
                                                                  4    Statement of One Technologies are filed concurrently herewith.
                                                                  5          27.    Pursuant to Local Rule 7.1-1, two copies of the Notice of Interested
                                                                  6    Parties are filed concurrently herewith.
                                                                  7          28.    No other defendant in this action needs to be joined in this removal
                                                                  8    petition. Nominal, unknown and fraudulently joined parties—like Michael
                                                                  9    Persaud—are not required to join in removal. See 28 U.S.C. § 1446(a); Emrich v.
                                                                  10   Touche Ross & Co., 846 F. 2d 1190, 1193 n. 1 (9th Cir. 1998) (“Ordinarily, under 28
                                                                  11   U.S.C. § 1446(a), all defendants in a state action must join in the petition for removal,
                                                                  12   except for nominal, unknown or fraudulently joined parties.”).
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                                                                  13         29.    By this notice, One Technologies does not waive any objections that it
                                                                  14   may have to service, jurisdiction, venue, or any other defenses or objections to this
                                                                  15   Action. One Technologies intends no admission of fact, law, or liability by this
                                                                  16   notice, and reserves all defenses, motions, and pleas.
                                                                  17                                      CONCLUSION
                                                                  18         30.    Because Michael Persaud was fraudulently joined and must be
                                                                  19   discharged, his citizenship is not relevant for purposes of diversity removal, and
                                                                  20   because the amount in controversy requirement has been met, there is complete
                                                                  21   diversity of citizenship between plaintiff Silverstein, on the one hand, and defendant
                                                                  22   One Technologies, on the other; the removal of this Action is proper.
                                                                  23   DATED: July 23, 2014                   CRONE HAWXHURST LLP
                                                                  24
                                                                  25                                          By:
                                                                  26                                                Gerald E. Hawxhurst
                                                                                                                    Joshua P. Gelbart
                                                                  27                                                Attorneys for Defendant
                                                                  28                                                One Technologies, L.P.
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                                                                                                                                NOTICE OF REMOVAL AND REMOVAL
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                                                                  1                                  DEMAND FOR JURY TRIAL
                                                                  2
                                                                  3          Defendant One Technologies, L.P. hereby demands trial by jury pursuant to
                                                                  4    Fed. R. Civ. Proc. § 38(b).
                                                                  5
                                                                  6
                                                                  7    DATED: July 23, 2014                 CRONE HAWXHURST LLP

                                                                  8
                                                                  9                                         By:
                                                                                                                  Gerald E. Hawxhurst
                                                                  10                                              Joshua P. Gelbart
                                                                  11                                              Attorneys for Defendant
                                                                                                                  One Technologies, L.P.
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